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                                              IN THE
                                                                                  ) -j
                 UNITED STATES DISTRICT COUIRT
                                                    FOR
             THE EASTERN DISTRICT OF VIRGINIA
                          (ALEXANDRIA DIVISION)

RAYELBERT PARKER,
Southern Tower Apartments
The Graham Building
5021 Seminary Road
Suite 725
Alexandria, Virginia 22311
(703)328- 1015

                                      Plaintiff
                                                          Civil Action No


SOUTHERN TOWER APARTMENTS,
LLC, Richard P. Earkin, President, individually
and in his official capacity or alternatively,
any party currently in that position, all Southern
Tower Apartments, LLC,and all member-
managers of the legal entity doing business in the
 State of Virginia
4600 North Fairfax Drive
Arlington, Virginia 22203
(703)358-0022

               And


VIRGINIA MANAGEMENT,INC,
Richard P/ Earkin, President, or his successor.
Individually and in his official capacity and all
 corporate officials, individually and in their
official capacity
4600 North Fairfax Drive
Arlington, Virginia 22203
(703)358-0022

               And
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